                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )   No. 3:25-cr-00115
                                                 )
 KILMAR ARMANDO ABREGO                           )
 GARCIA,                                         )
                                                 )
        Defendant.                               )

                                            ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the Government’s

Motion for Stay of Release Order (Doc. No. 46) is DENIED.

       The Government’s Motion for Revocation of Release Order and Motion for Leave to File

Brief in Support of Motion (Doc. No. 45) is GRANTED IN PART:

           1. The Government shall file a memorandum of law in support of its motion on or

              before July 2, 2025;

           2. Abrego shall file a response on or before July 9, 2025; and

           3. The Government may file an optional reply on or before July 14, 2025.

       The Court will hold an evidentiary hearing on the Government’s Motion for Revocation

(Doc. No.45) on July 16, 2025 at 1:00 p.m. No later than noon on July 14, 2025, the parties shall

file a witness list and exhibit list for the hearing. The witness list shall include a one to two

sentence statement of the anticipated testimony. All anticipated exhibits shall be provided to

chambers by 9:00 a.m. on July 15, 2025.




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    IT IS SO ORDERED.



                                        ____________________________________
                                        WAVERLY D. CRENSHAW, JR.
                                        UNITED STATES DISTRICT JUDGE




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